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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    ABILENE DIVISION

  UNITED STATES OF AMERICA                        )
                                                  )
  v.                                              )     NO. 1:13-CR-084-10-C
                                                  )     ECF
  KEVIN ALLEN RUTH                                )


                 ORDER ACCEPTING REPORT AND RECOMMENDATION
                    OF THE UNITED STATES MAGISTRATE JUDGE
                          CONCERNING PLEA OF GUILTY

         After reviewing all relevant matters of record, including the Notice Regarding Entry of a

  Plea of Guilty, the Consent of the Defendant, and the Report and Recommendation Concerning

  Plea of Guilty of the United States Magistrate Judge, and no objections thereto having been filed

  within fourteen (14) days of service in accordance with 28 U.S.C. § 636(b)(1), the undersigned

  District Judge is of the opinion that the Report and Recommendation of the Magistrate Judge

  concerning the Plea of Guilty is correct, and it is hereby accepted by the Court. Accordingly, the

  Court accepts the plea of guilty and Defendant is hereby adjudged guilty.

         Sentence will be imposed in accordance with the Court’s scheduling order.

         SO ORDERED.

         Dated May 2, 2014.




                                               SAM R. CUMMINGS
                                               UNITED STATES DISTRICT JUDGE
